                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLORADO

CHRISTIAN LICCIARDI,                         )
an individual,                               ) Case Number: 1:16-CV-3000-NYW
                                             )
               Plaintiff,                    )
v.                                           ) DEMAND FOR JURY TRIAL
LUTHERAN HOSPITAL ASSOCIATION OF THE )
SAN LUIS VALLEY d/b/a SAN LUIS VALLEY        )
REGIONAL MEDICAL CENTER, a Colorado          )
Corporation; WILLIAM COOPER, an individual;  )
RADIOLOGY AND IMAGING CONSULTANTS,           )
P.C., a Colorado Corporation; JEFFREY        )
FREEMAN, an individual; STEVEN HAKE, an      )
individual; VALLEY-WIDE HEALTH SYSTEMS,      )
INC., a Colorado Corporation; and KYLE       )
PHILLIPS, an individual,                     )
                                             )
               Defendants.                   )
___________________________________________________________________________

         FIRST AMENDED COMPLAINT FOR: MEDICAL MALPRACTICE
______________________________________________________________________________



       Plaintiff Christian Licciardi hereby states and alleges as follows:


                                       INTRODUCTION

       This case arises from the negligent action and inaction employed by Lutheran Hospital

Association of the San Luis Valley d/b/a San Luis Valley Regional Medical Center, William

Cooper, Radiology and Imaging Consultants, P.C., Jeffrey Freeman, Steven Hake, Valley-Wide

Health Systems, Inc., and Kyle Phillips (collectively “defendants”) that ultimately resulted in

life-altering brain injuries to plaintiff Christian Licciardi (“plaintiff”). Despite clear signs and

symptoms that plaintiff was suffering from a grave brain abscess, defendants failed to take the
appropriate measures to remedy plaintiff’s condition. Due to the aforementioned negligence,

plaintiff now suffers from permanent brain damage and permanent neurological deficits.


                           THE PARTIES AND JURISDICTION

         1.   Plaintiff Christian Licciardi (“Licciardi”) is an individual, and resides in Riverside

County, California.


         2.   Defendant Lutheran Hospital Association of the San Luis Valley d/b/a San Luis

Valley Regional Medical Center (“SLV”) is a Colorado-based Nonprofit corporation with its

principal place of business located at 106 Blanca Avenue, Alamosa, CO 81101.


         3.   Defendant William Cooper, MD (“Cooper”) is an individual, and is a resident of

Colorado.


         4.   Radiology and Imaging Consultants, P.C. is a Colorado professional corporation

with its principal place of business at 7710 N. Union Blvd, Suite 101, Colorado Springs, CO

80920.


         5.   Defendant Jeffrey Freeman (“Freeman”) is an individual, and is a resident of

Colorado.


         6.   Defendants Steven Hake (“Hake”) is an individual, and is a resident of Colorado.


         7.   Valley-Wide Health Systems, Inc., is a Colorado corporation with its principal

place of business at 128 Market St., Alamosa, CO 81101.

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       8.      Kyle Phillips (“Phillips”) is an individual, and is a resident of Colorado.


       9.      On information and belief, each of the Defendants herein are agents and

employees of each of the other Defendants, and proximately caused Plaintiff’s damages while

acting in such capacity.


       10.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C

§ 1332 because the amount in controversy exceeds $75,000 and there is complete diversity

between the parties, as they are citizens of different states.


       11.     Venue in this district is proper pursuant to 28 U.S.C § 1391 because a substantial

part of the events or omissions giving rise to the Complaint occurred in this district.


                                      STATEMENT OF FACTS

       12.     On November 2, 2015, Licciardi visited the SLV emergency room with a

headache and nausea.


       13.     SLV staff sent Licciardi home encouraging him to monitor his ailment for the

time being.


       14.     The next day, November 3, 2015, the symptoms had not resolved. Licciardi

returned to the SLV emergency room complaining of a headache, pain to the left side of his face,

and nasal congestion. Licciardi was again sent home.


       15.     The next day, November 4, 2015, Licciardi returned to the SLV emergency room

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complaining of increased left sided head pain in addition to his other symptoms. Licciardi was

“groggy” and described symptoms of “paresthesia.”


       16.     On November 4, 2015, Licciardi underwent a CT scan of his head without

contrast that revealed inflammation of the left nasal passages indicating sinusitis (i.e. an infection

of the left sinuses). Licciardi was prescribed Afrin and discharged with Compazine medication to

treat nasal congestion and nausea and vomiting respectively.


       17.     The symptoms did not resolve, so Licciardi went back to the SLV emergency

room on November 8, 2015, with his father, Joe Licciardi. Licciardi reported that his headache

had been so severe that it caused him to vomit.


       18.     Despite the fact that Licciardi’s headache persisted and he was vomiting and

suffering from pain to the left side of his face for a week, the SLV personnel seemed confident

that Licciardi’s symptoms were related to a concussion.


       19.     Licciardi was then referred to Dr. William Cooper, a neurologist employed at the

Monte Vista Community Clinic, a health clinic under the control of SLV. Before Licciardi could

even see Cooper, he made another visit to the SLV emergency room on November 9, 2015, with

the same symptoms.


       20.     On November 9, 2015, Licciardi was seen by Kyle Phillips, a nurse practitioner at

Valley-Wide Health Systems, Inc. Phillips ordered an MRI of the head both with contrast and

without contrast. An MRI with contrast more fully delineates the presents of any foreign matter

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and therefore is necessary to rule out such things as abscesses, pus, or empyema in the head.

However, despite the order by Phillips for an MRI with contrast, it was never performed, as Dr.

Cooper decided to do only an MRI without contrast.


       21.     On November 10, 2015, Licciardi returned to the SLV emergency room.

Licciardi’s symptoms included: severe headache, forehead swelling, neck pain, and fever. This

time, Licciardi was admitted to the hospital.


       22.     While admitted, an MRI and CT scan of the head, both without contrast were

performed on November 11, 2015.


       23.     Dr. Steven Hake with Radiology and Imaging Consultants, P.C. analyzed the

MRI and reported “bilateral maxillary mucosal thickening worse on the left.” Dr. Jeffrey

Freeman, also with Radiology and Imaging Consultants, P.C., analyzed the CT and did not find

any abnormality. Neither Dr. Hake nor Dr. Freeman compared the scans of November 11 to the

scan performed on November 4. If they had, they would have notice a worsening of the sinusitis

between November 4 and November 11 as well as a significant increase in swelling of the front

of the head between such dates. In addition, the scans of November 11 showed that pus

appeared to be seeping into the brain resulting in the pooling of pus (known as an epidural

abscess or empyema) in the brain.


       24.     The presence of such foreign matter in the brain is a life-threatening emergency

condition that must be addressed quickly. However, this condition was not addressed by


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Licciardi’s medical providers as his treating physicians and radiologist misdiagnosed his scans,

failed to conduct the proper comparisons of his previous scans, and thus misdiagnosed his

condition.


       25.     Instead, Dr. Cooper, diagnosed Licciardi with post-concussive syndrome with a

viral syndrome. Cooper discharged Licciardi to home.


       26.     Licciardi visited Valley-Wide Health Systems on November 16, 2015.               He

exhibited the same symptoms (severe headache, vomiting, left facial pain, swollen head) and also

had a swollen tongue. At that time, he was seen by nurse practitioner, Kyle Phillips. Phillips did

not follow-up on why an MRI with contrast, that he previously ordered, was not done. Instead,

Phillips continued to treat him as if he had benign sinusitis or viral meningitis, which is a self-

correcting condition not requiring immediate medical intervention. Instead, Phillips continued to

prescribe numerous medications to mask the symptoms instead of taking the proper action to rule

out the true life-threatening conditions that were affecting Licciardi.


       27.     Licciardi again visit Valley Wide Health Systems on November 19, 2015. He

presented with the same symptoms. Again he saw nurse practitioner, Kyle Phillips. Phillips

again merely provided multiple medications to mask Licciardi’s pain, but did nothing to discover

or rule out the true life-threatening conditions that Licciardi was suffering.


       28.     Licciardi left for California on November 25, 2015 to visit his family for

thanksgiving. Licciardi’s symptoms and pain had not resolved but worsened, as he was running


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out of the multiple pain medications prescribed to him in Colorado (which only served to mask

his true condition). On November 27, 2015, he visited Loma Linda University Medical Center

(“LLUMC”) where he was seen by an Emergency Department physician. Licciardi was sent

home after an evaluation.


        29.     On November 29, 2015, Licciardi again presented himself to LLUMC’s

emergency room and underwent imaging that revealed that he was suffering from a subdural

empyema (brain abscess).


        30.     Licciardi had to undergo a craniotomy to address the empyema. This was only

partially successful, and given the severity of the condition, Licciardi has had to undergo

multiple surgeries to his brain and has endured numerous strokes.


        31.     Licciardi now suffers from permanent brain damage and permanent neurological

deficits. Licciardi has lost all motor skills to right side of his body, starting from his head to his

feet. Christian also has lost cognitive skills and cannot understand conversations, or

communicate other than offering simple, short-phrased words.


        32.     As a result of defendants’ negligence, plaintiff has been damaged in an amount to

be proven at trial.


                                  FIRST CAUSE OF ACTION
                                  (MEDICAL NEGLIGENCE)
                      (BY LICCIARDI AGAINST ALL DEFENDANTS)
        33.     Licciardi incorporates by reference all of the paragraphs set for the above.
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          34.      Defendants failed to conform to the standard of care recognized in the community

for the same medical professions practiced by defendants. Said care consists of, among other

things:


                a. Ruling out dangerous, serious, or life-threatening conditions and diseases and

                   implementing the most effective treatments.

                b. Properly reading the diagnostic scans that are undertaken.

                c. Properly taking into the account the history of the patient such as comparing

                   earlier scans to show the progression of a disease.

                d. Listening and acknowledging the orders of other medical providers

                e. Not merely masking painful symptoms through a barrage of pain medicines.

          35.      As a result of the below standard of care practice, the defendants failed to

properly diagnose or treat the conditions and disease that Licciardi was suffering. As a proximate

and legal result of this practice, Licciardi has suffered severe and significant damage which will

affect him for the remainder of his life. Such damages, among other things, will require the

presence of lifetime, 24 hour care. Licciardi, once a healthy male of 22, is now unable to

undertake even the simplest of daily activities such as walking or talking.


WHEREFORE, LICCIARDI PRAYS AS FOLLOWS:

          1.       With respect to all causes of action for compensatory damages in an amount to be

                   proven at trial.

          2.       For prejudgment interest and costs and attorney’s fees.

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      3.     For such other and further relief as the Court deems just and proper.



DATED this 23 day of February, 2017.


                                   Respectfully submitted,

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                                   DEMAND FOR JURY TRIAL

       Licciardi hereby demands a trial by jury.



Dated: February 23, 2017



                                            By: s/Scott Wellman
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                                              Attorneys for Plaintiff, Christian Licciardi



                                            By: s/Katherine M. Windler
                                              Katherine M. Windler
                                              Attorneys for Plaintiff, Christian Licciardi




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                                 CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that on the 23rd day of February, 2017 I electronically filed the
foregoing document with the Clerk of the Court, using the CM/ECF system, which automatically
sent email notification of such filing to all counsel who have entered an appearance in this
action:


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